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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:
                                                                       Chapter 7
DIAMOND FINANCE CO., INC.,                                             Case No. 20-71877-reg

                                    Debtor.
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MARC PERGAMENT, Chapter 7 Trustee of the Estate of
Diamond Finance Co., Inc.,                                           Adv. Proc. No. 21-08101-reg

                                   Plaintiff,

                 - against –

TORAC REALTY, LLC,

                                    Defendant.
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                                        DECISION AFTER TRIAL

        This matter is before the Court pursuant to an adversary proceeding brought by Marc

Pergament, the chapter 7 trustee (the “Plaintiff” or the “Trustee”) to recover from Torac

Realty, LLC (“Torac” or the “Defendant”), inter alia, a series of transfers by the Debtor and two

affiliates of the Debtor as intentional and constructive fraudulent conveyances under the New

York Debtor and Creditor Law (“NY DCL”) and § 548 of the Bankruptcy Code. While the

adversary proceeding is against an entity that received transfers from the Debtor and its affiliates,

the type of operation the Debtor was engaged in, including the intent of the Debtor when making

the transfers to the Defendant, is an important piece of this adversary proceeding for several

reasons.

        The Debtor and the affiliated companies, which were owned and controlled by Mr.

Robert Diamond, were presented to the public as an automobile financing company for car
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purchasers with less than stellar credit. The Debtor could charge high interest rates for these car

loans due to the purchasers’ lackluster credit ratings, and the costs of its operations would be

borne by the difference between these high interest rates and the interest rate the Debtor incurred

to borrow funds for its operations. The problem with the Debtor’s business model was that the

Debtor did not collect sufficient funds from the car purchasers to cover its operations, let alone

make a profit. After losing credit lines with institutional lenders, the Debtor turned to friends and

family to fund the Debtor’s operations by promising a steady rate of return of 10% interest, paid

at regular monthly intervals. The Debtor’s principal boasted to the investors that his business was

very successful and was growing every year. The Debtor’s principal was also using the Debtor as

the central entity which operated its affiliates to further its investment strategy. While the

complete reason the Debtor’s principal transferred funds in and out of the related entities remains

unanswered, it did serve the purpose of creating an illusion of profitability for the investors.

What these investors did not know was that the Debtor’s business was losing money every year

in ever increasing numbers, and the number of investor dollars had to increase each year just to

make the monthly interest payments to the investors. This is commonly known as a Ponzi

scheme. In addition to using the investor funds to run the Ponzi scheme, a significant amount of

funds was transferred from the Debtor to Auto City International, Inc., which ran a used car

dealership. While it appears that these funds disappeared from Auto City International, Inc. and

most likely cycled back to the Debtor’s principal and his family members, this adversary

proceeding does not concern the ultimate whereabouts of these funds.

       The Trustee seeks to take advantage of the Ponzi label to establish elements of fraudulent

intent by the Debtor and the general insolvency of the Debtor for the purposes of proving that the

transfers to Torac were intentional and constructive fraudulent conveyances, as alleged in the



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complaint. While the Debtor did have some actual business, the purpose of the business quickly

became a front to lure unsuspecting investors to invest with the Debtor. Without the patina of a

legitimate business, the Ponzi operation would fail. The Debtor’s principal knew this and used

the business for these purposes, but unlike Bernard Madoff and others engaged in similar

activity, he did not admit to operating a Ponzi scheme. Rather, he claimed he was attempting to

save the business. After a three-day trial, the Trustee has not only established that this was a

Ponzi scheme, but he has successfully established each cause of action set forth in the complaint.

       Torac, which is the recipient of the transfers the Trustee seeks to recover, relies largely

on its claim of innocence to the entire fraud. If the evidence supported a finding that Torac was

either a regular good faith lender or an innocent investor which was duped along with all the

other investors, Torac may have successfully sought to retain some portion of the transfers under

the constructive fraudulent conveyance claims. However, the record reflects that Torac was not

an innocent investor. Torac, which provided loans to the Debtor and its affiliates, played a

different role than the other investors and was treated differently with respect to how it invested

in the business and how it was repaid. Torac was aware of too many irregularities and red flags

to retain the funds the Trustee seeks to recover. Torac’s principal, who had an ownership interest

in one of the transferring entities and was a close friend of the Debtor’s principal, asked no

questions regarding the Debtor’s operations. Torac was also aware that the Debtor’s lines of

credit with institutional lenders had been cancelled and still claims it asked no questions. Torac

and its principal were also the only investors which were repaid in full plus interest, while every

other investor lost the bulk of their principal investment. For these reasons, Torac cannot assert a

defense of good faith either as a lender or as a recipient of the funds.




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                                    PROCEDURAL HISTORY

        On April 14, 2020 (“Petition Date”), an involuntary bankruptcy petition (“Petition”) was

filed under chapter 7 of the United States Bankruptcy Code against the Debtor. ECF No. 1.1 On

May 20, 2020, an order for relief under chapter 7 was entered. Thereafter, the Trustee was duly

appointed and qualified as the chapter 7 trustee. ECF. No. 23.2 The Trustee commenced this

adversary proceeding on May 20, 2021 by the filing of a complaint (“Complaint”). ECF No. 1.3

The Complaint alleges various causes of action under 11 U.S.C. §§ 544, 548, 550 and 551, as

well as §§ 273, 274, 275 and 276 of the New York Debtor and Creditor Law (the “NY DCL”).

ECF No. 1. On June 9, 2021, an answer (“Answer”) was filed in which the Defendant

substantially denied the Plaintiff’s allegations and asserted various affirmative defenses. ECF.

No. 5. No dispositive motions were filed. A three-day trial was held on October 24, 25, and 26 of

2022. The Plaintiff and the Defendant submitted post-trial briefs on December 16, 2022. ECF

Nos. 81, 82. Thereafter, the adversary proceeding was marked submitted.

                                                FACTS

        Unless otherwise noted, the facts are drawn from the Stipulated Facts annexed to the

Joint Pretrial Memo, ECF No. 72, Ex. I (“Stipulated Facts”). Diamond Finance Co., Inc. (the

“Debtor”), was organized as an auto financing company licensed to conduct business in New

York. The Debtor was incorporated in 1988 and was wholly owned by Robert Diamond, who

served as its president from 1988 until May of 2020.

The Debtor and other Relevant Parties



1
  This ECF reference is to the Debtor’s docket in the chapter 7 bankruptcy case at 20-71877 (“Main
Case”).
2
  This ECF reference is to the Main Case.
3
  Unless otherwise noted, ECF references (including this one) are to the adversary proceeding docket, No.
21-08101.

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    1. The Debtor

        The Debtor’s purported business was to provide automobile financing targeting

consumers who were generally unable to secure market-rate financing. The Debtor would

purchase the installment sale contracts from dealers in these transactions. Pl.’s Ex. 88 at 13-14.

The automobile purchaser would then make the required payments directly to the Debtor. Id. The

business model required that the spread between the contract rate collected from the consumers

on their car loans and the Debtor’s cost of operations resulted in a net profit to the Debtor. The

two critical aspects which made this business model unsustainable were that the Debtor’s

overhead expenses were significant, and the collectability of the loans was poor. The Debtor

operated through its affiliate entities, Diamond FFP, Inc. and Diamond Finance Co. of New

Jersey. Diamond Floor Plan Inc. and Auto City International, Inc. were related to the Debtor, but

were described as engaged in floor plan financing and used car sales, respectively. Trial

Transcript Day 1 (“Tr.”), ECF No. 79, at 139. Each of these entities, including the Debtor, was

controlled by Robert Diamond.4 Trial Transcript Day 2 (“Tr. #2”), ECF No. 80, at 127-128.

    2. Diamond FFP, Inc. (“FFP”)

        FFP was incorporated in 2014 and at its inception, was owned equally by Mr. Diamond

and Thomas Weitzmann.5 There is some dispute over when Mr. Weitzmann had fully

relinquished his ownership in FFP. However, the record reflects that by 2016, Mr. Weitzmann no

longer had an equity interest in FFP based on FFP’s 2016 income tax return.6 FFP had little to no


4
  Mr. Diamond was called as a witness at trial; however, he asserted his rights under the Fifth Amendment
for substantially all questions.
5
  Thomas Weitzmann is one of the principals of Torac Realty, LLC.
6
  It was Mr. Weitzmann’s understanding that FFP was “terminated” (i.e., dissolved) shortly after its
formation. Tr. #2 at 187. According to him, Mr. Diamond advised that Mr. Weitzmann would not remain
as an owner of FFP. Mr. Diamond and Mr. Weitzmann were respective 50% owners of FFP as of February
of 2014. According to FFP’s income tax return for the year end December 31, 2016, Mr. Diamond was
listed as its 100% owner. Pl.’s Ex. 60.

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function other than raising capital by issuing notes to individuals solicited by Mr. Diamond. Tr.

at 98; Tr. #2 at 73. It had no payroll or office space. Tr. at 98. FFP was also an affiliate of the

Debtor that was listed on its combined financial statements. Tr. at 144.

   3. Diamond Finance Co. of New Jersey (“DFC-NJ”)

         DFC-NJ was incorporated in 1992 and was licensed by the State of New Jersey Banking

Department. DFC-NJ was wholly owned by Mr. Diamond and was included on the Debtor’s

consolidated financial statements. Like the Debtor, DFC-NJ was also ostensibly in the auto

financing business. Tr. at 98. DFC-NJ had no independent employees or office space.

   4.    Diamond Floor Plan Inc. (“Floor Plan”)

         Floor Plan was incorporated in 2016 for the purpose of providing financing to auto

dealers to purchase automobiles for eventual sale. This is generally termed inventory financing.

Tr. at 99, 103. Floor Plan held title to the vehicles purchased by the dealers as collateral, until

they were sold. Id. at 107. When the vehicles were sold, the dealer was required to pay the

outstanding loan attributable to the auto which included interest and fees, thereby generating

profits to Floor Plan. Id. at 112. Floor Plan was initially marginally profitable until it became

unable to pay its expenses and service its own debt. Id. at 96-97; 114. Floor Plan was always

owned and controlled by Mr. Diamond through at least 2019. Floor Plan was not treated as a

related entity on the Debtor’s consolidated financial statements. Pl.’s Ex. 88 at 19, 35.

   5. Auto City International, Inc. (“Auto City”)

         Auto City was incorporated in 1971 and was wholly owned and controlled by Mr.

Diamond from 2013 through 2019. Auto City was a used car dealership located in the Bronx,

New York. Auto City was not treated as a related entity on the Debtor’s consolidated financial

statements. Id. at 36.



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    6. Torac Realty, LLC (“Torac” or “Defendant”)

        Torac was the Debtor’s landlord. Tr. at 99-100. Torac is a New York limited liability

company based in New Hyde Park, New York. Torac owns the real estate located at 2200

Marcus Avenue, New Hyde Park, New York where the Debtor was a tenant. Mr. Weitzmann was

one of Torac’s principals.7 Mr. Weitzmann and Mr. Diamond were close friends since childhood.

Tr. #2 at 145.

The Debtor’s Downward Financial Spiral

        From 2011 onward, the Debtor’s business of financing auto loans was in poor financial

shape which worsened as the years progressed. Pl’s Ex. 1. This business no longer generated a

profit as of at least 2011. Id. From April of 2014 through April 2020 (“Insolvency Period”), the

Debtor consistently experienced negative cash flow from its operations. According to Gabe

Shurek, the Plaintiff’s expert witness, the Debtor was insolvent8 at the end of each month during

the Insolvency Period.9 Tr. at 144. For the years 2011 through 2017 and 2019, the Debtor’s

consolidated financial statements showed negative net cash balances. Pl.’s Ex. 2. These negative

balances ranged from ($33,954) to ($490,459). Id. To prop up its flagging business, the Debtor

needed another source of funding. At some point in 2010, Mr. Diamond turned to his friends to

invest in the Debtor.



7
  Torac had four principals, Thomas Weitzmann, Cindy Weitzmann, Mark Rosner and Leslie Rosner.
8
  Mr. Shurek’s definition of “insolvent” is when liabilities exceed assets at fair valuation. Tr. at 18.
9
  At trial, the Defendant objected to Mr. Shurek’s “Expert Report” as well as several other exhibits that
Mr. Shurek created in his analysis as to the Debtor’s financial information and as to whether the Debtor
exhibited characteristics of a “Ponzi scheme.” This Court admitted the exhibits into evidence for the
purposes of allowing to Mr. Shurek to testify as to what he relied on in creating his report. This Court
ruled that those specific exhibits would not necessarily be admitted for their truth and would be subject to
cross-examination and interpretation of their contents. Mr. Shurek was subject to cross-examination by
the Defendant, and the cross-examination failed to provide a basis to refute much of the financial
information upon which Mr. Shurek relied. The Defendant also failed to provide its own expert witness.
The Court utilized the financial information to reach its own conclusions as to the issues presented in this
case, including whether the Debtor operated a Ponzi scheme.

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       Two of Mr. Diamond’s close friends, who were investors, testified at the trial. Wayne

Wattenberg and Gary Moskowitz each had a similar story to tell. Mr. Moskowitz invested with

Mr. Diamond because he trusted him and was told that his money would be used in the

automobile financing business to fund loans made to consumers who were deemed poor credit

risks, and would need to pay higher interest rates for their automobile purchases. Tr. at 27. Mr.

Diamond represented to him that the Debtor would charge 24-26% interest on the notes and after

deducting its own expenses, the Debtor could afford to pay Mr. Moskowitz a 10% annual return

on his investment. Id. As early as 2010, Mr. Moskowitz began investing in the Debtor. Id. at 26.

Mr. Moskowitz made his investments based on Mr. Diamond’s representations that “business

was fabulous” and “business was booming” and that he could buy significantly more car loans if

he had more investor money. Id. at 30, 31. Because of these representations and his close

friendship with Mr. Diamond, Mr. Moskowitz felt comfortable investing in the Debtor.

Whenever Mr. Diamond asked for more money, Mr. Moskowitz obliged. Id. at 31. Mr.

Moskowitz received interest payments on time, every month, until February of 2020, when he

received a letter that Mr. Diamond had to stop making interest payments due to the COVID-19

pandemic. Id. at 32-33. At some point after that, Mr. Moskowitz was alerted by another investor

that he believed the Debtor had been losing money for years and had a negative net worth. Id. at

34. Mr. Moskowitz lost a total of $850,000 from his investments in the Debtor. Id. at 40.

       Wayne Wattenberg, who was also a close friend of Mr. Diamond, testified with a similar

story. Mr. Wattenberg first invested with Mr. Diamond around 2012 or 2013. Id. at 45. Mr.

Diamond explained his business of providing loans to consumers to purchase cars and his used

car business. Id. He told Mr. Wattenberg that he had an opportunity for some of his friends to

make a 10% return on their money with zero risk because he held titles to the cars as collateral



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and was getting paid 25% interest from the consumers purchasing cars. Mr. Diamond always

said that business was very good. Id. at 46. Mr. Wattenberg invested a total of $360,000 with Mr.

Diamond, and at one point was receiving about $3,000 per month in interest payments based on a

10% annual interest rate. Id. at 47, 50; Pl.’s Ex. 53. Mr. Diamond solicited other investors to

invest with him, including Mr. Wattenberg’s son, who invested $240,000. Tr. at 47-48. At some

point in time after the COVID-19 pandemic, a friend advised Mr. Wattenberg and his son that he

believed Mr. Diamond’s business was not legitimate. Id. at 55. Mr. Wattenberg and his son lost

$360,000 and $240,000 in principal, respectively. Id.

The Debtor’s False Representations to Regulators and Investors

       It became increasingly apparent that the Debtor was not succeeding, despite the influx of

investor money year over year. As the pool of investor funds increased, so did the monthly note

obligations, while the Debtor’s business continued to operate in the red. Donald Kalechofsky, the

Controller at Floor Plan, advised Mr. Diamond that based on the financial picture of the Debtor,

FFP and DFC-NJ in 2017, he should either “get rid of” the Debtor and these affiliated

companies, cease operations or increase the loan base. Id. at 109, 121-22. The basis for this

recommendation was that the Debtor consistently had negative income after paying interest on

the investors’ notes and covering its operational expenses. Id. at 122-25; Pl. Ex. 45. In essence,

the Debtor’s business of providing automobile financing to consumers with poor credit history

was a failed strategy. The Debtor only continued to operate by securing a constant stream of new

money through investor financing. Based on these facts, the Court concludes that the Debtor had

morphed into a business whose only real purpose was raising money to pay its debt obligations

to existing investors and its overhead.




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        Notwithstanding Mr. Kalechofsky’s warnings, Mr. Diamond continued to operate the

Debtor and the affiliate businesses without adequate sources of capital and in the face of

increasing expenses. Mr. Diamond’s response to these warnings was to continue to dig a deeper

hole by raising money from investors through false representations that the Debtor was a highly

profitable business and a safe investment. At no time did Mr. Diamond disclose the actual

financial position of the Debtor, that it was losing money each year and that it could not survive

without a constant stream of investor money. This story unfortunately is not a new one and the

end is always inevitable: except for a chosen few, such as Torac in this case, everyone loses their

money. Tr. at 30-33.

        In an effort to generate an appearance of profitability, Mr. Diamond transferred funds

between the Debtor and the affiliated entities. Much of the Debtor’s financial information could

not be reconciled,10 as some end-of-year calculations differed from the starting numbers from the

following year. Tr. #2 at 43. Mr. Kalechofsky had the accounting firm of Cerini & Associates

LLP (“Cerini”) retained to produce an audited financial statement for Floor Plan, which required

audits of the Debtor and other affiliates of the Debtor. Tr. at 101. Cerini was unable to generate

audited financial statements for Floor Plan because a significant number of the intercompany

transactions could not be matched. Id.

        Mr. Diamond not only misled investors, but he also provided false information to

regulators as part of his scheme. The Debtor was required to file annual reports to the New York

State Department of Financial Services (“DFS”), which reviewed the reports. During the



10
  This refers to the “reconciliation of equity.” A company’s retained earnings is its opening number on its
balance sheet, and after the addition of any income (or loss) and/or any distributions or contributions,
leaves an ending retained earnings number. That ending retained earnings number should then carry
forward to the subsequent statement as the opening number. In the Debtor’s case, those numbers did not
always match up. Tr. #2 at 43.

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Insolvency Period, the Debtor had made misrepresentations in its annual reports to the DFS

(“DFS Annual Reports”). Among other things, the DFS Annual Reports showed “short-term

funds borrowed from banks.” Pl.’s Exs. 15, 16, 17, 19, 20, 21. According to the testimony of Mr.

Shurek, however, these funds were not funds from banks, but rather were funds borrowed from

investors Mr. Diamond had preyed upon, like Mr. Moskowitz and Mr. Wattenberg. Tr. at 170.

Notably, according to the DFS Annual Reports, the Debtor showed “short term funds borrowed

from other creditors” to be zero. Pl.’s Exs. 15, 16, 17, 19, 20, 21. The Debtor was financed by

investor notes, which should have been listed in this section of the DFS Annual Reports instead

of being reported under funds from “banks.” Tr. at 170.

       The Debtor also made false statements to DFS regarding its financial condition. This

included reporting millions of dollars in advances to Auto City as “advances to dealers,” which

should have roughly matched the value of car loans initially made by Auto City and transferred

to the Debtor. However, they were essentially one-way payments without the Debtor receiving

the corresponding loan documents to collect from the consumer borrowers. Pl.’s Ex. 88 at 68-72.

These advances were listed on the DFS Annual Reports and were misrepresented by the Debtor

as “receivables” that would be paid back. Pl.’s Exs. 15, 16, 17, 19, 20, 21; Tr. 160-62. The

conclusion to be drawn is that Auto City used these funds for purposes other than making

advances to dealers. Tr. #2 127. Specifically, Auto City listed “Diamond Florr Pl” as a “Payee”

or recipient of substantial payments from April 2018 to October 2019. Pl.’s Ex. 1 at Ex. I. These

disbursements from Auto City totaled $2,280,627.17. Id. When analyzing these transactions, Mr.

Shurek could not find a corresponding entry reflecting receipt of such funds on Floor Plan’s

books. Tr. #2 at 39. During the Insolvency Period, the Debtor made transfers to Auto City

aggregating $3,572,064, of which Auto City provided $228,382 back to the Debtor, leaving a net



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total of $3,343,682 in Debtor transfers to Auto City. Between April 2014 through April 2018, a

total of 299 transfers to Auto City were made aggregating $3,054,680. Nearly all of those

transfers were in numbers rounded to the nearest thousand. Pl.’s Ex. 88 at 69; Pl.’s Ex. 1. During

that period, only twelve transfers totaling $10,720.52 were remitted back from Auto City to the

Debtor. Notwithstanding the Debtor’s deepening losses year after year, the “advances to dealers”

increased almost every year during the Insolvency Period. Pl.’s Ex. 2. The Debtor and Floor Plan

also transferred funds back and forth for no discernable business purpose. For instance, Floor

Plan had received a private loan of approximately $12,500,000 in 2017 shortly after its

incorporation, and some of the loan proceeds were transferred in part to the Debtor to cover its

operations. Tr. #2 at 24. Sometime in 2018, the Debtor’s expenses were shifted over to Floor

Plan. Id. at 24-25. Mr. Shurek testified that millions of dollars were transferred in and out of

Floor Plan’s account, yet Floor Plan had minimal actual income. Id. at 23. This included

transfers by Floor Plan to the Debtor in the amount of $3,503,143 and transfers from the Debtor

to Floor Plan in the amount of $2,015,682. Pl.’s Ex. 1. The transfer of funds between various

affiliated entities, for no apparent business purpose, helped to create an illusion of financial

strength amid the Debtor’s deepening insolvency. The false reports and the transferring of funds

with related entities are not random independent actions. Mr. Diamond committed these acts as

part of a conscious scheme to perpetuate the fraud he orchestrated. He financed the fraud by

running the Ponzi scheme. It is important to distinguish the underlying fraud of

misrepresentation to investors and filing false documents with how Mr. Diamond financed these

actions. It is the Ponzi scheme, fueled by the false representations, which is critical to the

underlying fraudulent conveyance claims.




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       Throughout the Insolvency Period, even as its financial condition further deteriorated, the

Debtor continued to be used as a vehicle to raise money from investors. Mr. Diamond asked Mr.

Wattenberg to refer investors to him, especially his son’s wealthy friends. Tr. at 49. Mr.

Diamond enticed some investors with the payments of commissions for successfully recruiting

new investors into the scheme. For example, Mr. Diamond had written agreements with Jerome

Krantz and Steve Fox to recruit new investors. Jerome Krantz would receive a 2% commission

on each investor that was brought into the scheme and an additional 2% on any investor’s

renewal of their loan. Pl.’s Ex. 6. Mr. Krantz brought in a handful of investors, totaling eight

loans for which he was owed a commission. Id. Likewise, Steve Fox would receive a 5%

commission on any investor he brought into the scheme. Pl.’s Ex. 7. In fact, according to

Francine Haviken, the Debtor’s bookkeeper, the Debtor’s issuance of promissory notes to raise

money from investors was the primary source of the Debtor’s income. Pl.’s Ex. 88 at 21. During

the Insolvency Period, the Debtor received loans from investors totaling $12,535,000. Pl.’s Ex. 1.

Even though the Debtor’s operations rendered it insolvent from at least 2014 to 2019, the Debtor

paid out principal and interest payments to investors in the total amount of $12,648,115. Id. Ms.

Haviken also testified that because the Debtor operated at a loss, the Debtor needed to borrow

money to pay its bills and make the interest payments. Pl.’s Ex. 88 at 42. The “interest expenses”

listed in the Debtor’s financials were the expenses for all the funds that Mr. Diamond had

borrowed, and which money went to pay individual investors. Tr. at 119-20. Mr. Kalechofsky

testified that the money the Debtor raised from investors was used to pay this “interest expense”

which was the largest expense on the Debtor’s books during Mr. Kalechofsky’s employment. Id.

at 121, 128. The record reflects that to cover its expenses, which included its overhead and

repayment to investors, the Debtor needed to borrow additional money from investors or find



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new investors. Id. at 128. Because it had to continue borrowing to pay back other investors, the

Debtor’s loans and “notes payable” on its consolidated balance sheet increased every year. Id. at

145; Pl.’s Ex. 2.

Transfers to Torac

          While Mr. Moskowitz and Mr. Wattenberg had very similar experiences with their

investments in the Debtor, Torac’s experience differed in several significant aspects. From about

2013 to 2014, Torac made five separate loans to the Debtor, two separate loans to DFC-NJ, and

one loan to FFP. Pl.’s Exs. 9, 10, 12. These loans totaled $740,000.00 in the aggregate. Pl.’s Exs.

9, 10, 12. Torac made loans to the Debtor in the amount of $240,000 on September 24, 2013,

$75,000 on January 24, 2014, $25,000 on January 31, 2014, $50,000 on April 18, 2014, and

$30,000 on September 9, 2014. Torac made loans to DFC-NJ in the amount of $100,000 on April

16, 2014 and $120,000 on June 18, 2014. Lastly, Torac made a loan to FFP in the amount of

$100,000 on July 16, 2014. Pl.’s Exs. 9, 10, 12.11 The notes evidencing these loans either carried

10% annual interest or did not indicate an interest rate. Torac did not receive consistent monthly

payments of interest, but instead received payments in varying amounts which, in the aggregate,

greatly exceeded Torac’s investment. The return of $1,322,714 on an investment of $740,000

over a little less than five years reflects an interest rate in excess of 10%. The Defendant has

offered no explanation for this drastic difference in the treatment of Torac’s investment from the

other investors.

          When making loans to the Debtor, Mr. Weitzmann did not differentiate between the

Debtor, DFC-NJ, FFP, or Mr. Diamond, as he considered them all to be one in the same i.e.,

“Rob Diamond.” Trial Transcript Day 3 (“Tr. #3”), ECF No. 78, at 17-18. Mr. Weitzmann never



11
     Notably, this investment in FFP occurred after the date Mr. Weitzmann testified FFP ceased operations.

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asked to review the Debtor’s books and records or any financial information about the Debtor,

and never conducted due diligence of any kind before or after making the loans. Tr. #2 at 178-79.

According to Mr. Weitzmann, all the inducement he needed was for Mr. Diamond to claim that

“business was good.” With respect to FFP, Mr. Weitzmann acknowledged he owned 50% of the

stock of FFP when it was formed in early 2014, but claimed he was only involved with this

business for a few months thereafter. Id. at 184-87. Mr. Weitzmann believed that FFP was to be

funded by his and Mr. Diamond’s personal funds, but he was not aware whether Mr. Diamond

put any of his own funds into FFP. Mr. Weitzmann also claimed to have no idea how FFP

obtained the money to pay Torac, nor was he fully aware what business FFP was engaging in

when he transferred funds to FFP. Tr. #3 at 11. With respect to FFP, Mr. Weitzmann claimed

that Mr. Diamond showed him some handwritten papers which listed cars FFP was financing

along with their registration numbers. Id. at 13-14. Mr. Weitzmann had no explanation as to how

FFP could have repaid Torac $190,000 on an initial investment of $100,000 or how the bulk of

these transfers to Torac could have taken place well after Mr. Weitzmann believed FFP had

ceased operating. However, Mr. Weitzmann was also aware that Mr. Diamond was transferring

funds among the Debtor, FFP and DFC-NJ. Id. at 10-11. Out of over thirty investors who loaned

funds to the Debtor, only Mr. Weitzmann and Torac were paid back in full including interest. Tr.

#2 at 157, 176; Tr. #3 at 15. When viewed together, the conclusion drawn by the Court is that

Torac had knowledge that the Debtor’s operations were being propped up by innocent investors

and Torac received a substantial return on its investment at the expense of these investors.

        The Plaintiff seeks to recover a total of $1,322,714 from Torac, which includes principal

and interest. Of this amount, there are three groups of transfers which were either not made by

the Debtor or were not received directly by Torac. However, the principal source of these funds



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and all funds distributed by the Debtor and its affiliates were the investors as previously detailed.

Because Mr. Diamond used DFC-NJ and FFP to make distributions, the Debtor was

shortchanged based on what Torac invested directly with the Debtor ($420,000) and what Torac

received from all sources ($1,322,714). Pl’s Ex. 1. However, for reasons set forth below, the

Court is viewing all of the transfers as between the Debtor and Torac. The specifics of these

groups of transfers are described below.

   1. Transfers from FFP to Torac

       On July 16, 2014, the Debtor and Torac executed a promissory note in the amount of

$100,000. Pl.’s Ex. 68. Even though the Debtor was the payee, the funds were wired into FFP’s

bank account. Id. Similarly, FFP repaid Torac. Id. Torac received a total of $190,000 from the

$100,000 investment. Pl.’s Ex. 12; Tr. #3 at 15. The majority of funds deposited into FFP during

the time of these transfers were attributable to the Debtor, totaling $325,000 or 66%. Pl.’s Ex.

13; Tr. #2 at 75. Additionally, $84,000 or 17% came from DFC-NJ; $50,000 or 10% came from

an investor named Joe Dinola; $25,000 or 5% from an investor named Jerome Krantz; and

$5,954 of deposits from unknown sources. Tr. #2 at 75. Therefore, $409,000 of the $489,954 in

receipts to FFP were either from the Debtor or from DFC-NJ. Id. Of the sixteen payments

provided from FFP to Torac, Mr. Shurek was able to trace seven transactions totaling $90,000

directly from the Debtor to FFP. Id. at 74.

   2. Transfers from DFC-NJ to Torac

       During the period September 24, 2013 through November 2, 2017, DFC-NJ disbursed

$320,326 to Torac. This amount included a payment of $150,000 from DFC-NJ to Torac which

Torac used for the purchase of a commercial building. Pl.’s Ex. 11; Tr. #2 at 99, 150. Mr.

Weitzmann testified that around the summer of 2015, Torac requested repayment of its loans to



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the Debtor so that it could purchase the building immediately. Tr. #2 at 150. Torac also reached

out to James Brettholz, a friend of Mr. Weitzmann and another creditor of the Debtor, to loan

money to Torac. Id. On June 4, 2015, Mr. Brettholz wired $150,000 into DFC-NJ.12 On that

same day, an outgoing payment in the amount of $150,000 was received by Torac. Pl.’s Ex. 11;

Tr. #2 at 99, 100. From 2014 to 2018, Torac paid a total of $220,000 to DFC-NJ. Pl.’s Ex. 10.

During the time the transfers were made, DFC-NJ had $4,011,010 in cash receipts. Pl.’s Ex. 1.

This amount included $1,512,598 or 38% from unknown sources; $1,055,648 or 26% from the

Debtor; $950,764 or 24% from investor loans; $200,000 or 5% from Mr. Diamond; $192,000 or

5% from FFP; and $100,000 or 2% from Floor Plan. Id. In his analysis, Mr. Shurek reviewed the

monies that went into DFC-NJ during this period and could trace five payments totaling $38,270

from the Debtor. Id.; Tr. #2 at 70.

     3. Transfers from the Debtor to Basic Capital Corp.

        The record reflects that Torac transferred a total of $420,000 to the Debtor. Pl.’s Ex. 9. In

turn, the Debtor made payments to Torac and/or an entity named Basic Capital Corp.13 (“Basic

Capital”) totaling $812,387.46.14 Id. Of this amount, the Debtor transferred $195,350.01 to Basic

Capital. The Debtor made payments to Basic Capital at the direction of Mr. Weitzmann.

According to Mr. Weitzmann’s testimony, the Debtor made these transfers to Basic Capital for

the benefit of Mr. Weitzmann, not the Debtor. Mr. Weitzmann claims he personally loaned the



12
   Mr. Weitzmann alleged that Mr. Brettholz accidentally wired the $150,000 to DFC-NJ instead of
directly to Torac. Tr. #2 at 150. Mr. Weitzmann testified that because he needed the funds immediately,
the parties agreed that it was simpler to wire the funds directly from DFC-NJ to Torac instead of having
DFC-NJ wire the funds back to Mr. Brettholz, to then wire it directly to Torac. Id. at 151-152. Mr.
Weitzmann admitted that this transfer was for his benefit. Id. There is no testimony from Mr. Brettholz’s
to corroborate Mr. Weitzman’s explanation, nor is there any evidence that Brettholz was repaid by Torac
or Weitzmann.
13
   Basic Capital is a California corporation controlled by Mr. Weitzmann’s brother-in-law.
14
   The Debtor disbursed $617,037.45 to Torac, and an additional $195,350.01 to Basic.

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Debtor $350,000 in 2009. Tr. #2 at 147-48.15 Around December of 2012, the building owned by

Torac was at risk of foreclosure due to the nonpayment of real estate taxes. Mr. Weitzmann first

sought repayment of his loan to the Debtor to cover Torac’s tax debt. Id. at 148. Mr. Diamond

was unable to immediately repay Mr. Weitzmann, so Mr. Weitzmann turned to his brother-in-

law, who ran Basic Capital, for a loan. Id. Basic Capital agreed to loan Torac $350,000. Id. at

183. As partial repayment of the debt to Basic Capital, Mr. Weitzmann and Basic Capital agreed

to assign the note between Mr. Weitzmann as obligee and the Debtor as obligor. Pl.’s Exs. 62,

63. Basic Capital subsequently wired $350,000 to Torac, and Mr. Weitzmann testified that the

funds were used to satisfy a tax lien on Torac’s property in the approximate amount of $311,000

as well as some delinquent mortgage obligations. Tr. #2 at 148. The Debtor made payments to

Basic Capital in the amount of $20,000 per month for a total of approximately $195,350. Id. at

149. Mr. Weitzmann paid the remaining balance on the note to Basic Capital and the Debtor

resumed repaying the last $100,000 of its obligation to Weitzmann by making transfers to Torac.

Id.

                                               DISCUSSION

      I.       The Debtor Operated as Ponzi Scheme

            The Plaintiff and the Defendant present widely diverging images when describing the

true nature of the Debtor’s business. The success of certain elements of the Plaintiff’s adversary

proceeding turns in part on whether the Court finds that the Plaintiff has established that the

Debtor was operating a Ponzi scheme, by using its business to lure investors. In contrast, the

Defendant urges the Court to find that the Debtor’s business was legitimate, but it ran into

financial difficulty which created a need to seek another source of funding for its operations. The



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     The note evidencing this debt was not produced by the Defendant and is not part of the record.

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benefit to the Plaintiff in finding that the Debtor was running a Ponzi scheme is twofold: a Ponzi

finding would establish the transferor’s intent to defraud, and it would establish the insolvency of

the Debtor. In re Bernard L. Madoff Inv. Sec. LLC, 458 B.R. 87, 104, 110 n. 15 (Bankr. S.D.N.Y.

2011) (other citations omitted),

         The Debtor’s fraudulent intent is a requirement under the intentional fraudulent

conveyance statutes and a finding of the Debtor’s insolvency is a component of the constructive

fraudulent conveyance actions. Because the fourth, fifth and ninth causes of action concern

intentional fraudulent transfers, a finding that the Debtor operated a Ponzi scheme would satisfy

a critical element of these claims. The first, second, third and eighth causes of action require a

finding of the Debtor’s insolvency, which would be established by the Ponzi presumption as

well.

         The evidence and applicable case law supports the Plaintiff’s proposition that the Debtor

was running a Ponzi scheme for the entire period that Torac received the transfers at issue. The

Debtor’s business, which was unprofitable from 2008 onward, became nothing more than

window dressing for the fraudulent acts committed to benefit the Debtor, its principal and Torac.

         While there is no precise definition of what constitutes a Ponzi scheme, it always

involves a fraudulent stratagem to solicit new investors whose funds are then used primarily to

make distributions to earlier investors. “[T]he label ‘Ponzi scheme’ has been applied to any sort

of inherently fraudulent arrangement under which the debtor-transferor must utilize after-

acquired investment funds to pay off previous investors in order to forestall disclosure of the

fraud.” Bear Stearns Sec. Corp. v. Gredd (In re Manhattan Inv. Fund Ltd.), 397 B.R. 1, 12

(S.D.N.Y. 2007) (quoting Bayou Superfund LLC v. WAM Long/Short Fund II, LP (In re Bayou

Group, LLC), 362 B.R. 624, 633 (Bankr. S.D.N.Y. 2007)). “A key factor is that the Ponzi



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schemer requires—and secures—new investors to keep the sham arrangement afloat.” Id. at 12.

A Ponzi scheme can involve a corporation that operates at a loss, while giving the appearance of

profitability to draw in new investors to cover the returns promised to earlier investors. Hirsch v.

Arthur Andersen & Co., 72 F.3d 1085, 1088 n. 3 (2d Cir.1995). “A ‘Ponzi scheme’ typically

describes a pyramid scheme where earlier investors are paid from the investments of more recent

investors, rather than from any underlying business concern, until the scheme ceases to attract

new investors and the pyramid collapses.” Eberhard v. Marcu, 530 F.3d 122, 132 n. 7 (2d Cir.

2008). In this case, the collapse was accelerated by the COVID-19 pandemic. However, an

irrefutable fact common to all such schemes is that they ultimately fail and result in significant

loss to their investors. This case is no different.

        Some courts employ the following “four-factor test” to determine whether a Ponzi

scheme existed: “1) deposits were made by investors; 2) the [d]ebtor conducted little or no

legitimate business operations as represented to investors; 3) the purported business operation of

the Debtor produced little or no profits or earnings; and 4) the source of payments to investors

was from cash infused by new investors.” Sec. Inv'r Protec. Corp. v. Bernard L. Madoff Inv. Sec.

LLC, 531 B.R. 439, 471 (Bankr. S.D.N.Y. 2015) (citing Gowan v. Amaranth Advisors L.L.C. (In

re Dreier LLP), Adv. P. No. 10–03493, 2014 WL 47774, at *9 (Bankr. S.D.N.Y. Jan. 3, 2014)).

        Other courts have identified “badges of fraud” to determine whether a Ponzi scheme has

been established, including “the absence of any legitimate business connected to the investment

program, the unrealistic promises of low risk and high returns, commingling investor money, the

use of agents and brokers paid high commissions to perpetuate the scheme, misuse of investor

funds, the ‘payment’ of excessively large fees to the perpetrator and the use of false financial




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statements.” In re Dreier LLP, 2014 WL 47774, at *9. These badges are, however, not the sole

markers of a Ponzi scheme, which can be present in many forms. Id.

          Because there is no single, precise definition of a Ponzi scheme, courts will look for a

general pattern, rather than specific hallmarks, to make its determination. See In re Manhattan

Inv. Fund Ltd., 397 B.R. at 12. A “clever twist on the Ponzi concept will not remove a fraudulent

scheme from the definition of Ponzi.” Forman v. Salzano (In re Norvergence, Inc.), 405 B.R.

709, 730 (Bankr. D.N.J. 2009).

          This case presents a distinction that is not always present in Ponzi schemes. Unlike the

well-chronicled Madoff case and other noteworthy Ponzi schemes where there is some form of

allocution or a conviction confirming the existence of the scheme, that is not the case here. Mr.

Diamond has not admitted to operating the Debtor as a Ponzi scheme. However, the facts and the

record before the Court support a finding that the Debtor was operated as a Ponzi scheme at the

direction and for the benefit of Mr. Diamond and his other companies. Application of the four-

factor test to the facts of this case yields a result consistent with a Ponzi finding.

          (1) Deposits were made by investors

          It is undisputed that the Debtor took in a total of $12,535,000 in loans from investors.

The Defendant argues that these lenders should not be considered “investors” in the context of a

Ponzi scheme because the funds obtained by the Debtor were in the form of loans, not equity.

Def.’s Post-Trial Br. at 22. Attempting to provide a legal distinction, the Defendant emphasized

at trial that Mr. Wattenberg and Mr. Moskowitz did not purchase any equity in the Debtor. Tr. at

42, 58.

          No such distinction preempts a finding of a Ponzi scheme. Whether an individual or

entity makes a loan or purchases equity, it can be characterized as an “investor” in the context of



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a Ponzi scheme. See Sec. Inv'r Protec. Corp. v. Bernard L. Madoff Inv. Sec. LLC, 528 F. Supp.

3d 219, 238 (S.D.N.Y. 2021), aff'd sub nom. Picard Tr. for SIPA Liquidation of Bernard L.

Madoff Inv. Sec. LLC v. JABA Assoc. LP, 49 F.4th 170 (2d Cir. 2022) (finding that the

defendants were “investors” regardless of whether they were creditors or equity investors, where

the defendants expected a high rate of return which return was obtained by the use of fraud).

       (2) The Debtor conducted little or no legitimate business operations as represented to
           investors

       The Defendant’s central argument to refute the Trustee’s conclusion that the Debtor

operated a Ponzi scheme is that the Debtor’s business may have been troubled, but it was always

legitimate. The Defendant claims it was unprofitable because its profit margin was too small, and

this could be made up by increasing the number of loans made. The Defendant cites to the

testimony of Mr. Kalechofsky, who stated that the spread between the interest rates that the

Debtor would borrow at and the rate of interest it earned was insufficient to carry the expenses of

the company. Tr. #2 at 96. The Defendant argues that it was profitable until bank lines were

pulled in 2008, plus its customer base dwindled. Id. at 93-95. To save the business, Mr. Diamond

used the borrowed investor funds for the purpose of generating more loans with the intent of

generating a profit. Tr. at 130. However, this scenario does not fit the facts. Mr. Diamond

blatantly lied to his investors about the performance of his business. A review of the transactions

show that investor funds were repeatedly transferred between the Debtor and its various affiliate

entities in a manner for which Mr. Kalechofsky could not give a rational explanation. As a matter

of fact, Mr. Kalechofsky attempted to try and prepare tax returns but was “unable to get a good

set of books.” Id. at 104. When he advised Mr. Diamond of the discrepancies between the

intercompany transfers, he “never got a great answer on why it didn’t match.” Id. at 105.

Significantly, Mr. Kalechofksy brought in Cerini to conduct an audit of the financial statements

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to attempt to match the transactions. However, Cerini was unable to accomplish this. Id. at 101.

Clearly, this complex web of intercompany transactions was a scheme to take funds from

investors, shuttle the funds to and from the Debtor and its entities to create a false narrative of

profitability, and then to use those funds to pay back earlier investors. The increase in investor

funds did not make the Debtor’s operations more profitable as the bulk of these funds either went

to benefit the principal and the Debtor’s affiliates or went towards making the monthly interest

payments to investors. The Debtor performed this operation on a “rinse and repeat” basis until

the fraud was discovered.

        The Defendant further emphasizes that the Debtor’s operations were legitimate because

there was a sale of approximately $475,000 worth of the Debtor’s assets to a third-party buyer in

the Main Case.16 That argument also fails because the fragment of actual business is dwarfed by

the magnitude of the fraud, which brought in over $12 million in investor funds and required a

constant stream of new investor funds to make the monthly payments as promised by the Debtor.

        The presence of a legitimate business will not defeat the finding of a Ponzi scheme. See

Sec. Inv'r Protec. Corp. v. Bernard L. Madoff Inv. Sec. LLC, 528 F. Supp. 3d at 240 (“even if

part of [the debtor] engaged in legitimate business, it is common for a business to run a

legitimate business alongside a Ponzi scheme, and the presence of a legitimate business

alongside a Ponzi scheme does not undermine the Ponzi scheme presumption”); Gillman v. Geis

(In re Twin Peaks Fin. Serv., Inc.), 516 B.R. 651, 655 (Bankr. D. Utah 2014) (“The fact that an

investment scheme may have some legitimate business operations is not determinative. If the

debtor's legitimate business operations cannot fund the promised returns to investors, and the




16
 Order Granting Motion to Sell Property of the Estate Free and Clear of Liens under 11 U.S.C. § 363(f),
ECF No. 241 in the Main Case.

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payments to investors are funded by newly attracted investors, then the debtor is operating a

Ponzi scheme”).

       Several courts have found that a Ponzi scheme existed notwithstanding claims that the

existence of a legitimate business negated any finding of a Ponzi scheme. See Cuthill v.

Greenmark, LLC (In re World Vision Ent., Inc.), 275 B.R. 641, 648 (Bankr. M.D. Fla. 2002)

(finding that a “textbook Ponzi scheme” existed where the issuance of promissory notes was the

debtor’s primary source of funds and in which the debtor primarily used the funds from those

notes to pay interest to previous investors and also to pay overhead, salaries, and expenses);

Rieser v. Hayslip (In re Canyon Sys. Corp.), 343 B.R. 615, 628 (Bankr. S.D. Ohio 2006) (finding

that the debtor’s fraudulent operation of its gold coin business constituted a Ponzi scheme despite

the transferee’s claim that the debtor’s business suffered from “bad timing rather than a lack of a

legitimate business enterprise”); Miller v. Wulf, 84 F. Supp. 3d 1266, 1272 (D. Utah 2015), aff'd,

632 F.App’x. 937 (10th Cir. 2015) (unpublished) (the defendant argued that the business was not

a Ponzi scheme because it operated a real business, but the court stated it “misse[d] the point”

because “Ponzi schemes sometimes use legitimate operations to attract investors, but the

existence of that legitimate business does not preclude a finding that the company operated a

Ponzi scheme”).

       The court’s decision in In re World Vision reflect facts similar to this case. World Vision

Entertainment, Inc. (“World Vision”) promoted itself as an entertainment investment company

and started selling nine-month promissory notes to investors at interest rates of 10-11%, where

the investors could reinvest their principal at the end of the term. In re World Vision Ent., Inc.,

275 B.R. at 645-46. World Vision utilized a network of brokers to sell the notes, who were paid

commissions on their sales. Id. at 646. It sold approximately $62 million worth of promissory



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notes. The notes were marketed through a sophisticated program designed to foster the illusion

of a successful venture. After reviewing the facts, the Court found:

       The debtor's note program was a textbook Ponzi scheme. None of the debtor's
       investments ever produced any income or revenue. The debtor's primary source of
       funds was through the sale of its promissory notes. The debtor used funds invested
       by new investors to make interest and principal payments to earlier investors. Any
       remaining funds were used to pay general and administrative expenses such as
       officer salaries and rent, to make occasional investments in companies not expected
       to generate any substantial return, and to enrich the debtor's insiders.

Id. at. 648-49.

       The record reflects that the Debtor operated much the same. As time passed, the Debtor’s

primary source of funding its operations became the proceeds of the investor notes. Pl.’s Ex. 88

at 21. Despite its insolvency, the Debtor made payments of over $12 million to investors. Like

the debtor in World Vision, the Debtor made substantial intercompany transfers, including

payments to Mr. Diamond personally, which could not be reconciled or explained. This is

especially apparent when examining the “advances” the Debtor made to Auto City. The Debtor

transferred more than $3,572,064 to Auto City, receiving back only $228,382. In stark contrast to

the Defendant’s assertions of legitimacy, the Debtor’s operations were much more appropriately

classified as a sham.

       (3) The purported business operation of the Debtor produced little or no profits or

           earnings

       The Debtor operated at a severe financial loss for all relevant times during the Insolvency

Period. Pl.’s Ex. 1. During this period, its operations consistently demonstrated negative net

income, negative retained earnings, negative cash balance, insufficient liquidity, a dangerously

high debt to equity ratio and had substantially overdrawn bank accounts. The Defendant places

stock in the marginal profits experienced by the Debtor well before the Insolvency Period and



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lays the blame for the Debtor’s losses on the banks pulling the lines of credit in 2008. Def.’s

Post-Trial Br. at 16. Because a business may not start as a Ponzi scheme does not mean it cannot

become a Ponzi scheme. From at least 2014 onward, without a stream of new money or

borrowing, the Debtor could not meet its existing obligations, interest payments, or debt service.

Tr. at 149-50. It is the Debtor’s conduct during the Insolvency Period which points to a Ponzi

finding. As with the debtor in World Vision, “[e]very note sold simply made the debtor even

more insolvent.” In re World Vision Ent., Inc., 275 B.R. at 647.

       (4) The source of payments to investors was from cash infused by new investors.

       Finally, the record before the Court confirms that the payments the Debtor received from

new investors were used to pay interest and principal to previous investors. During the

Insolvency Period, the Debtor’s loans increased every year, and it could not support this debt

service without raising new money. Tr. at 145. At trial, Mr. Shurek stated that whatever

significant funds remained after making advances to Auto City were needed to service the debt.

After the debt to prior investors was serviced, the funds went toward overhead expenses. Tr. #2

at 50-51. Because the Debtor was in constant financial distress and its businesses operated at a

loss, it could not make distributions to earlier investors without a consistent stream of new

investor money. This is a classic hallmark of a Ponzi. Sec. Inv'r Protec. Corp. v. Bernard L.

Madoff Inv. Sec. LLC, 531 B.R. at 472. Thus, the four-factor test is satisfied.

       For these reasons as well, the Debtor also operated a Ponzi scheme within the more

flexible confines of the standard adopted in In re Manhattan Inv. Fund Ltd., 397 B.R. at 12 (“any

sort of inherently fraudulent arrangement under which the debtor-transferor must utilize after-

acquired investment funds to pay off previous investors in order to forestall disclosure of the

fraud”).



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   II.      Torac’s status as a lender does not insulate it from the Ponzi presumption

         Torac contends that its status as a lender and not an investor insulates it from the Ponzi

scheme entirely. To support its position, the Defendant cites to Daly v. Deptula (In re

Carrozzella & Richardson), 286 B.R. 480 (D. Conn. 2002) and Lustig v. Weisz & Assocs., Inc.

(In re Unified Com. Cap., Inc.), 260 B.R. 343, 346 (Bankr. W.D.N.Y. 2001), aff'd sub nom. In re

Unified Com. Cap., No. 01-MBK-6004L, 2002 WL 32500567 (W.D.N.Y. June 21, 2002). These

cases are unpersuasive and do not affect the Court’s finding that the Ponzi scheme sufficiently

establishes that the transfers were made with the intent to defraud, as discussed infra.

         Both cases cited by the Defendant concern whether innocent investors can retain the

interest they received on loans to a debtor which ran a Ponzi scheme. The focus of the inquiry in

Carrozzella and In re Unified Commercial Capital, Inc. was whether the interest payments by

such debtor could constitute “reasonably equivalent value.” The court in Carrozella ultimately

held that these returns were not recoverable as constructively fraudulent transfers where the

defendants were good faith recipients. Carrozzella, 286 B.R. at 491-92. Likewise, the court in In

re Unified Commercial Capital, Inc. held that the debtor received reasonably equivalent value

within the meaning of section 548 of the Bankruptcy Code. In re Unified Com. Cap., Inc., 260

B.R. at 354. However, in deciding the question, it assumed that the defendants had acted in

“good faith” and repeatedly made references to them as “innocent investors.” These cases do

nothing to alter the Court’s finding that the Debtor made the transfers to Torac with the intent to

defraud investors.

          In any event, the Defendant was by no means an innocent investor. Mr. Weitzmann, the

Defendant’s principal, was best friends with Mr. Diamond for many years. In fact, Mr.

Weitzmann and Mr. Diamond were 50-50 owners in FFP when it was formed. At trial, Mr.



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Weitzmann admitted that when Mr. Diamond asked for money, Mr. Weitzmann never asked any

questions because they were friends. Tr. #2 at 158. Further, he never inquired into the Debtor’s

ability to pay him back, never performed any due diligence on the Debtor or Debtor’s affiliates,

and never asked to see the Debtor’s financials. Id.at 178-79. Notably, when Mr. Weitzmann

demanded repayment of one of its outstanding loans in August of 2015, the Debtor stated it was

unable to pay Mr. Weitzmann back. Such a clear financial red flag would have caused any

reasonable and innocent lender or investor to have commenced an inquiry or investigation into

the Debtor, yet Mr. Weitzmann undertook no such action. Id. at 180. Their close relationship is

evident when examining the Defendant’s actions shortly before the involuntary bankruptcy. The

Defendant wrote checks to Mr. Diamond totaling $75,000 to cover the cost of retaining an

attorney for the involuntary bankruptcy. Id. at 172-73. When asked at trial if he expected to be

repaid for that money, Mr. Weitzmann responded “No, I just - - I gave it to him so, you know, I

gave it to him because he told me that he needed it for the attorney. I didn’t even discuss

repayment.” Id. at 178. Finally, the Defendant and the Defendant’s principal were the only

creditors to be paid back in full with interest. Id. at 176. None of these facts support a finding

that the Defendant was an innocent investor. Having determined that the Debtor operated a Ponzi

scheme, the Court will analyze the causes of action, applying the Ponzi scheme presumption

where relevant.

     III.      Actual Intent to Defraud

            When a Ponzi scheme is found, the “Ponzi scheme presumption” applies, which is a

recognized presumption of actual intent to defraud on the part of the transferor in the context of a

Ponzi scheme under 11 U.S.C. § 548(a)(1)(A) and NY DCL § 276.17 See Sec. Inv'r Protec. Corp.


17
  Pursuant to 11 U.S.C. § 544(b), the Trustee has the power to avoid transfers by the Debtor that are
voidable by a creditor of the Debtor under applicable New York law.

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v. Bernard L. Madoff Inv. Sec. LLC, No. 20 CV. 3140 (JGK), 2021 WL 1141638, at *11

(S.D.N.Y. Mar. 24, 2021); Barnard v. Albert (In re Janitorial Close-Out City Corp.), Adv. P.

No. 11-8952 (AST), 2013 WL 492375, at *5 (Bankr. E.D.N.Y. Feb. 8, 2013).

Section 548(a)(1)(A) of the Bankruptcy Code provides:

        (a)(1) The trustee may avoid any transfer (including any transfer to or for the benefit
        of an insider under an employment contract) of an interest of the debtor in property,
        or any obligation (including any obligation to or for the benefit of an insider under
        an employment contract) incurred by the debtor, that was made or incurred on or
        within 2 years before the date of the filing of the petition, if the debtor voluntarily
        or involuntarily—

        (A) made such transfer or incurred such obligation with actual intent to hinder,
        delay, or defraud any entity to which the debtor was or became, on or after the date
        that such transfer was made or such obligation was incurred, indebted[.]

11 U.S.C. § 548(a)(1)(A).

        NY DCL § 276 states that “[e]very conveyance made and every obligation incurred with

actual intent, as distinguished from intent presumed in law, to hinder, delay, or defraud either

present or future creditors, is fraudulent as to both present and future creditors.18 McCord v. Ally

Fin., Inc. (In re USA United Fleet, Inc.), 559 B.R. 41, 61 (Bankr. E.D.N.Y. 2016). The reasoning

underpinning the presumption is that a Ponzi scheme demonstrates “actual intent” as matter of

law because “transfers made in the course of a Ponzi scheme could have been made for no

purpose other than to hinder, delay or defraud creditors.” In re Manhattan Inv. Fund Ltd., 397

B.R. at 8; see also McHale v. Boulder Cap. LLC (In re 1031 Tax Grp., LLC), 439 B.R. 47, 72

(Bankr. S.D.N.Y. 2010) (citing In re Manhattan Inv. Fund Ltd., 397 B.R. at 14 (“If the Ponzi



18
  The NY DCL was later amended by the enactment of the “Uniform Voidable Transactions Act”
(“UVTA”) on December 6, 2019, effective April 4, 2020, N.Y. Legis. 580 § 7 (2019). The UVTA included
an amendment to the fraudulent transfer provisions such as NY DCL §§ 273-276. However, the
amendments do not apply in this adversary proceeding because the transfers occurred before the effective
date of the UVTA. Halperin v. Morgan Stanley Inv. Mgmt. (In re Tops Holding II Corp.), 646 B.R. 617,
641 at n. 37 (Bankr. S.D.N.Y. 2022), Ray v. Ray, 799 F.App’x 29, 31 n.1 (2d Cir. 2020).

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scheme presumption applies, actual intent for purposes of section 548(a)(1)(A) is established ‘as

a matter of law’”)). The court in Armstrong v. Collins explained:

       [o]ne can infer an intent to defraud future undertakers [investors] from the mere
       fact that a debtor was running a Ponzi scheme. Indeed, no other reasonable
       inference is possible. A Ponzi scheme cannot work forever. The investor pool is a
       limited resource and will eventually run dry. The perpetrator must know that the
       scheme will eventually collapse as a result of the inability to attract new investors.
       The perpetrator nevertheless makes payments to present investors, which, by
       definition, are meant to attract new investors. He must know all along, from the
       very nature of his activities, that investors at the end of the line will lose their
       money.

Armstrong v. Collins, No. 01 Civ. 2437 (PAC), 2010 WL 1141158, at *21 (S.D.N.Y. Mar. 24,

2010) (citing Liebersohn v. Campus Crusade for Christ, Inc. (In re C.F. Foods, L.P.), 280 B.R.

103, 110 (Bankr. E.D. Pa. 2002)).

       Section 548 (a)(1)(A) of the Code is related to NY DCL § 276 for purposes of a finding

of actual intent.“[Section 548(a)(1)(A)] and [NY DCL § 276] essentially overlap; that is, where a

transfer is found to be the result of actual intent to hinder, delay, or defraud creditors under New

York law, it is also fraudulent under § 548(a)(1)(A).” In re Janitorial Close-Out City Corp.,

2013 WL 492375, at *5. As in § 548(a)(1)(A) of the Code, actual intent to defraud under § 276 is

also presumed where a Ponzi scheme is involved. See, e.g., In re Bayou Group, LLC, 362 B.R. at

633–34. Further, under NY DCL § 276, it is the transferor’s intent that is relevant, not the intent

of the transferee. See Gowan v. Patriot Grp., LLC (In re Dreier LLP), 452 B.R. 391, 432–33

(Bankr. S.D.N.Y. 2011). Courts have found that the entire transfer may be avoided after a

finding of actual fraudulent intent under § 548(a)(1)(A) of the Code or NY DCL § 276. See In re

Bayou Group, LLC, 439 B.R. 284, 304 (S.D.N.Y. 2010) (“A transfer that constitutes an actual or

intentional fraudulent conveyance under Section 548(a)(1)(A) may be avoided in its entirety—as




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to both invested principal and profits—whether or not the debtor received value in exchange for

the transfer”).

        (1) Actual Intent under section 548(a)(1)(A) of the Code

        Section 548(a)(1)(A) states that the period of time for examining fraudulent transfers is

within two years of the filing of the petition. The involuntary petition was filed against the

Debtor on April 14, 2020 and therefore the “lookback period” is from April 14, 2018 to April 14,

2020. During this time period, only DFC-NJ made payments to the Defendant. DFC-NJ made the

following five transfers:

    1. 4/23/2018 in the amount of $10,541.66

    2. 5/23/2018 in the amount of $10,458.33

    3. 6/7/2018 in the amount of $25,000.00

    4. 6/21/2018 in the amount of $10,270.83

    5. 7/23/2018 in the amount of $10,083.33

Pl.’s Ex. 10.

Therefore, a total of $66,354.15 is avoidable under the ninth cause of action.

        (2) Actual Intent under section 276 of the NY DCL

        Actual intent to defraud has also been established under section 276 of the NY DCL. As

stated above, a finding of actual intent under section 548 of the Code satisfies the actual intent

requirements under section 276 of the NY DCL. The record and facts before the Court indicate

that the Debtor operated as a Ponzi scheme by using itself and its affiliate entities to entice

investors to invest in its fraudulent financing scheme. Therefore, the Ponzi scheme presumption

establishes the Debtor’s actual intent to hinder, delay, or defraud for purposes of section 276. A




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finding of actual intent to defraud under section 276 permits the Court to avoid the entire amount

of the transfer. Therefore, a total of $1,322,714.00 is avoidable under the fourth cause of action.

    IV.       The Plaintiff is Entitled to Attorney’s Fees Under NY DCL § 276-a

          Pursuant to the fifth cause of action, the Trustee seeks an award equal to the reasonable

amount of attorney’s fees incurred in connection with prosecution of the fourth cause of action

under NY DCL § 276. See UrbanAmerica, L.P. II v. Carl Williams Group, L.L.C., 945 N.Y.S.2d

233, 236 (App. Div. 1st Dep’t 2012) (finding that NY DCL § 276–a does not entitle plaintiff to

recover all of its attorneys' fees in a litigation, but rather only fees relating to prosecuting the

cause of action for actual fraudulent conveyance). Under New York law, a successful avoidance

of intentional fraudulent conveyances may entitle the plaintiff to an award of attorney’s fees.

NY DCL § 276-a provides:

          In an action . . . brought by a creditor . . . [or] trustee in bankruptcy . . . to set aside
          a conveyance by a debtor, where such conveyance is found to have been made by
          the debtor and received by the transferee with actual intent, as distinguished from
          intent presumed in law, to hinder, delay or defraud either present or future creditors,
          in which action . . . the creditor . . . [or] trustee in bankruptcy . . . shall recover
          judgment, the justice ... presiding at the trial shall fix the reasonable attorney's fees
          of the creditor . . . [or] trustee in bankruptcy . . . in such action . . . and the creditor
          . . . [or] trustee in bankruptcy . . . shall have judgment therefor against the debtor
          and the transferee who are defendants in addition to the other relief granted by the
          judgment.

NY DCL § 276–a; see also Silverman v. United Talmudical Acad. Torah Vyirah, Inc. (In re

Allou Distrib., Inc.), 446 B.R. 32, 74 (Bankr. E.D.N.Y. 2011).

          The Second Circuit has concluded that actual fraudulent intent on the part of both the

transferor and the transferee must be found before awarding attorney fees. Carey v. Crescenzi,

923 F.2d 18, 21 (2d Cir. 1991). Further, actual fraudulent must be found, not merely constructive

or imputed fraud:

          when [a] conveyance is found to have been made by the debtor and received by the
          transferee with actual intent, as distinguished from intent presumed in law, to
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       hinder, delay or defraud either present or future creditors . . . the court must make
       an explicit finding of actual intent to defraud; imputed fraud does not satisfy § 276–
       a.

Kramer v. Mahia (In re Khan), Adv. P. No. 11-01520 (ESS), 2014 WL 10474969, at *48

(E.D.N.Y. Dec. 24, 2014) (quoting Carey v. Crescenzi, 923 F.2d at 21). This Court may consider

“badges of fraud” as evidence to satisfy the element of actual fraudulent intent under NY DCL§

276-a. In re Allou Distrib., Inc., 446 B.R. at 75.

       The Plaintiff has satisfied his burden of proving actual fraudulent intent on behalf of both

the Debtor and the Defendant. Several badges of fraud are present with respect to the

Defendant’s conduct. As previously stated, Mr. Diamond and Mr. Weitzmann, the principals of

the Debtor and the Defendant respectively, were very close friends for decades. Mr.

Weitzmann’s refusal to conduct any inquiry or investigation into Mr. Diamond or the Debtor

prior to making the loans is a significant factor weighing in favor of a finding of actual

fraudulent intent. Torac was treated differently than the other investors in that Torac did not

receive the monthly interest payments, but instead received payments in varying amounts on an

irregular basis. Torac was also paid back in full with interest, and paid for the Debtor’s attorney’s

fees in connection with the initial phases of this bankruptcy case. Mr. Weitzmann loaned Mr.

Diamond and his businesses hundreds of thousands of dollars as well, and like Torac, Mr.

Weitzmann was paid back in full. The evidence paints a picture of Torac which is consistent with

a willing participant in the scheme. While Mr. Weitzmann strenuously asserts his ignorance to

the scam, his conduct belies his alleged lack of knowledge. This is sufficient for the Court to find

that the Defendant, as transferee, acted with actual fraudulent intent. Therefore, the Plaintiff is

entitled to an award of reasonable attorney’s fees under NY DCL § 276-a. The dollar amount of

the legal fees to be included in the judgment shall be limited to the fees incurred in connection



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with the fourth cause of action only. Judgment shall be entered in favor of the Plaintiff with

respect to the fifth cause of action in an amount to be determined upon submission of an

application for fees by the Plaintiff.

    V.      Constructive Fraudulent Conveyances under NY DCL

         The first three causes of action concern the “constructive fraudulent conveyance” statutes

of the NY DCL. None of these statutes require a finding of fraudulent intent by the transferee. As

stated by the court in Sharp Int’l Corp v. St. Bank & Tr. Co. (In re Sharp Int’l. Corp.), 403 F.3d

43, 53 (2d Cir. 2005), a transfer is constructively fraudulent under the NY DCL if it is made

without fair consideration and: (i) the transferor is insolvent or will be rendered insolvent by the

transfer in question, DCL § 273; (ii) the transferor is engaged in or is about to engage in a

business transaction for which its remaining property constitutes unreasonably small capital,

DCL § 274; or (iii) the transferor believes that it will incur debt beyond its ability to pay, DCL §

275.

         The Debtor’s insolvency is established by the Ponzi presumption. In re Janitorial Close-

Out City Corp., 2013 WL 492375 at *6. The Debtor was also demonstratively insolvent at the

time of the transfers as set forth infra. Therefore, the requirement in each of these sections that

the transferor is either insolvent, is engaged in a business with unreasonably small capital or that

the transferor believes it will incur debt beyond its ability to pay is satisfied.

           “Fair consideration” is a requirement for each of these sections as well and is defined

in § 272 of the NY DCL as when “fair equivalent” is exchanged in good faith for the debtor’s

property. The Second Circuit has outlined the elements of “fair consideration” as follows:

         (1) the transferee must convey property in exchange for the transfer, or the transfer
         must discharge an antecedent debt:
         (2) what the transferee exchanges for the transfer must be of “fair equivalent” value
         to the property transferred by the debtor; and

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       (3) the transferee must make the exchange in “good faith.”

In re Sharp Int’l. Corp., 403 F.3d at 54 (citing HBE Leasing Corp. v. Frank, 61 F.3d 1054, 1058-

59 (2d Cir. 1995)).

          With respect to the payments in excess of principal, the Trustee has established by a

preponderance of the evidence that these payments were made without fair consideration because

they were not made for fair equivalent value. See In re Dreier LLP, 452 B.R. at 445 (interest

payments made in excess of principal to hedge fund investor in connection with debtor’s Ponzi

scheme could constitute constructive fraudulent conveyances). There was no fair equivalent

value as the Debtor received nothing in return for these payments.

          In addition to the payments in excess of principal, the Plaintiff seeks to recover an

amount equal to the principal, notwithstanding the fact that the Debtor received equivalent value

based on the Defendant’s loans. According to the Plaintiff, the exchanges between the Debtor

and Torac were not made in good faith. Under the NY DCL, the Plaintiff has the burden of

establishing by a preponderance of the evidence that the Defendant lacked good faith. Silverman

v. Actrade Cap., Inc. (In re Actrade Fin. Techs., Ltd.), 337 B.R. 791, 802 (Bankr. S.D.N.Y.

2005) (citing U.S. v. McCombs, 30 F.3d 310, 326 (2d Cir. 1994)).

          Good faith is recognized as an “elusive concept” in the New York constructive fraud

statutes, especially where the intent of the transferor is not relevant. In re Sharp Int’l. Corp., 403

F.3d at 54 (citing U.S. v. McCombs, 30 F.3d at 326 n. 1). Courts uniformly recognize that

repayment of a debt to an officer, director or shareholder of the transferee lacks good faith. Id.

(citing Atlanta Shipping Corp., Inc. v. Chemical Bank (In re Atlanta Shipping Corp., Inc.), 818

F.2d 240, 248-49 (2d Cir. 1987)). The Second Circuit has also held that where the debtor makes

a transfer to satisfy a valid antecedent debt, the fact that the transferee knows that the debtor



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obtained the funds fraudulently to repay the obligation does not satisfy the lack of good faith

requirement. Id. at 55. These types of transfers are not avoidable under the NY DCL as

constructively fraudulent conveyances because they do not reflect the purpose of the New York

fraudulent conveyance statutes: the purpose of the New York fraudulent conveyance laws “is not

to provide equal distribution of a debtor’s estate among creditors, but to aid specific creditors

who have been defrauded by the transfer of a debtor’s property.” HBE Leasing Corp. v. Frank,

48 F.3d 623, 634 (2d Cir. 1995) (citing Boston Trading Grp., Inc. v. Burnazos, 835 F.2d 1504,

1508 (1st Cir. 1987)). Therefore, the preferential repayment of pre-existing obligations to some

creditors at the expense of other creditors are not fraudulent conveyances, because some creditors

have been repaid. In re Dreier LLP, 452 B.R. at 443.

         Within these parameters, there is room to find that the repayment of a pre-existing debt

is a constructive fraudulent conveyance even if the transferee is not an officer, director or major

shareholder of the transferor at the time of the transfer. For example, the Second Circuit held that

where a lender had knowledge at the time its transfer was made to the debtor that the funds

advanced to the debtor might not be used to pay legitimate creditors, but instead may be funneled

to third parties or used in a manner that does not benefit the debtor, a cause of action for

constructive fraudulent conveyance may lie. HBE Leasing, 48 F.3d at 637. According to the HBE

Leasing court, “[c]onstructive knowledge of fraudulent schemes will be attributed to transferees

who were aware of circumstances that should have led them to inquire further into the

circumstances of the transaction, but who failed to make such inquiry.” Id. at 636. The focus on

what the debtor does with the initial loan proceeds and the lender’s constructive or actual

knowledge of the misuse of the funds was deemed relevant by the Second Circuit in In re

Atlantic Shipping Corp. There, in connection with an appeal of a motion dismissing constructive



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fraudulent conveyance claims under the NY DCL, the Second Circuit reasoned that if a lender

“knew or strongly suspected” that the loan transaction would adversely affect a debtor’s financial

health and would hamper a debtor’s ability to meet its other obligations, then a court could find

that the loans were repaid in bad faith. In re Atlantic Shipping Corp., 818 F.2d at 249.

          The Defendant relies on the Sharp decision to support its position that the transfers to

the Defendant were made in good faith. However, the facts of this case differ from Sharp and

more closely resemble the HBE case. While the Defendant paints itself as an innocent investor

which provided reasonably equivalent value in exchange for the transfers it received, the

Defendant was by no means an innocent investor. As stated above, Mr. Weitzmann’s close

friendship with Mr. Diamond, along with his ownership interest in FFP and his general conduct

during the Insolvency Period, precludes a finding of innocence. As a former owner of FFP, he is

charged with the knowledge that FFP had little to no real function and that its main business was

to take in investors’ money and issue notes. As Mr. Weitzmann claimed he did not distinguish

between the Debtor, DFC-NJ and FFP, he is charged with the knowledge that these other entities

were mere window dressing for the Ponzi scheme. Therefore, every dollar advanced by Torac

did not serve to improve the Debtor’s financial health but went in large part to pay off new

investors, thereby deepening the Debtor’s insolvency. Under these circumstances, the Court finds

that there was no fair consideration given for the transfers at issue as Torac did not take such

transfers with the requisite good faith. Therefore, the Court shall enter judgment in favor of the

Plaintiff under the first, second and third causes of action in the amount of $582,713.83.

    VI.     Constructive Fraudulent Conveyances Under the Bankruptcy Code

          In addition to the constructive fraudulent conveyance claims under the NY DCL, the

Plaintiff seeks to recover certain transfers made within two years of the Petition Date pursuant to



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§ 548(a)(1)(B) as set forth in the eighth cause of action. The dollar amount of the transfers

sought to be avoided is $66,354.15 and each transfer was made by DFC-NJ. This section

provides that the trustee may avoid a transfer of an interest in the debtor’s property if the debtor

was insolvent at the time of the transfer or became insolvent as a result of the transfer, and if the

debtor received less than reasonably equivalent value in exchange for the transfer. BFP v.

Resolution Tr. Corp., 511 U.S. 531, 535 (1994). As discussed infra, the Court’s finding that the

Debtor operated a Ponzi scheme as well as the record before the Court establishes the insolvency

of the Debtor during the relevant time frame. Whether a transfer is for reasonably equivalent

value depends upon the circumstances of the transactions. In re Actrade Fin. Tech. Ltd., 337 B.R.

at 803. The good faith of the transferee is not an element of § 548(a)(1)(B). The transfers made

during the two-year period prior to the Petition Date were not made for reasonably equivalent

value based on the interest paid on the notes.

   VII.     Application of the Good Faith Defense under Bankruptcy Code § 548(c)

          The Answer contains an affirmative defense to the fraudulent conveyance claims under

the Bankruptcy Code that the transfers were taken by Torac for value and in good faith. Once a

prima facie case of actual or constructive fraudulent conveyance is made, as the Plaintiff has

established in this case, Torac may defeat the claims by asserting the following affirmative

defense under § 548(c) of the Bankruptcy Code:

               [A] transferee . . . of such a transfer . . . that takes for value and in
               good faith . . . may retain any interest transferred . . . to the extent
               that such transferee . . . gave value to the debtor in exchange for
               such transfer or obligation.

11 U.S.C. § 548(c).

          The “good faith” requirement is not clearly defined by the courts, but there appears to

be a consensus that it involves a three-step inquiry. See In re Bernard L. Madoff Inv. Sec. LLC,

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12 F.4th 171, 191-92 (2d Cir. 2021) (finding that “good faith” imposes an “inquiry notice”

standard under sections 548 and 550 of the Code). A defense under section 548(c) is an

affirmative defense and the burden of persuasion is on the defendant-transferee. Id. at 196. First,

the Court must examine the facts that the Defendant knew, which is a subjective standard. Id. at

191. Second, the Court must determine if the facts would have led a reasonable person, the

Defendant, to conduct an inquiry into the Debtor’s potential fraud, i.e., “inquiry notice.” Id.

Third, if the Court decides that the Defendant was put on inquiry notice, then the Court

determines whether a diligent inquiry would have led the Defendant to discover the fraudulent

nature of the transaction. Id. 191-92. The second and third steps impose an objective standard. Id.

at 192. In essence, “inquiry notice ‘signifies actual awareness of suspicious facts that would have

led a reasonable [transferee], acting diligently, to investigate further and by doing so discover.’”

Id. at 191 (quoting Grede v. Bank of N.Y. Mellon Corp. (In re Sentinel Mgmt. Grp.), 809 F.3d

958, 961 (7th Cir. 2016)).

         In other words, would a diligent investigation by Torac have disclosed the fraud or

insolvency of the Debtor’s operations? Torac has failed to establish that it took the transfers in

good faith. First, as set forth infra, the principal of Torac would have had reason to know of the

Debtor’s fraudulent scheme.

       Second, knowledge of these facts put the principal of Torac on inquiry notice of the

potential fraud. The fact that the Defendant accepted payments from affiliated entities of the

Debtor alone should have triggered additional inquiry as to why, for the two years prior to the

Petition Date, all of the repayments came from DFC NJ. Further, the Debtor’s inability to repay

the Defendant when Mr. Weitzmann demanded payment would have led a reasonable person to

conduct further inquiry.



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          Third, the principal of Torac did not undertake a reasonably diligent inquiry in the face of

these red flags. Another investor in a similar situation would have made an inquiry once the

Debtor could not honor the terms of the loans. Instead, Mr. Weitzmann did not undertake any

investigation at all. Such conscious failure to make any inquiry into the Debtor’s operations

prevents the Defendant from asserting that it acted with the requisite good faith. Id. at 191-92.

For these reasons, the Defendant’s affirmative defense to the fraudulent transfers asserted

pursuant to Bankruptcy Code § 548(c) fails.

     VIII. The Transfers to the Defendant from the Non-Debtor Entities Are Recoverable Under
           11 U.S.C. § 550

          Pursuant to the sixth cause of action, the Trustee asserts that the transfers from the non-

Debtor entities, FFP and DFC-NJ, to the Defendant are recoverable pursuant to 11 U.S.C. §

550(a).

11 U.S.C. § 550(a) states:

          Except as otherwise provided in this section, to the extent that a transfer is
          avoided under section 544, 545, 547, 548, 549, 553(b), or 724(a) of this title, the
          trustee may recover, for the benefit of the estate, the property transferred, or, if the
          court so orders, the value of such property, from—

                  (1) the initial transferee of such transfer or the entity for whose benefit
                  such transfer was made; or
                  (2) any immediate or mediate transferee of such initial transferee.

11 U.S.C. § 550(a).

          Once a transfer has been avoided, section 550(a) allows the trustee to “recover for the

benefit of the estate, the property transferred, or, if the court so orders, the value of such property

. . . .” Berman v. Pavano (In re Goldberg), 623 B.R. 225, 239 (Bankr. D. Conn. 2020) (quoting

Tronox Inc. v. Anadarko Petroleum Corp. (In re Tronox Inc.), 464 B.R. 606, 613 (Bankr.

S.D.N.Y. 2012)). “Section 550(a) is a remedies section and defines the party from whom a



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trustee may seek to recover property that is fraudulently transferred or the value or proceeds of

such property.” In re Allou Distrib., Inc., 379 B.R. 5, 19 (Bankr. E.D.N.Y. 2007). Section

550(a)(1) provides that an “initial transferee” is liable for an avoided transfer, whiles section

550(a)(2) provides that “‘any immediate or mediate transferee of such initial transferee’—that is,

a subsequent transferee—may be liable for an avoided transfer.” Id.

       To the extent that the Trustee seeks to avoid the transfers from the Debtor to Torac,

recovery can be had against Torac, as the initial transferee of such transfers, in the amount of

$812,387 under the NY DCL. The funds in question are property of the Debtor which went

directly to Torac. The Court includes in this amount the transfers of $150,000 to Torac which

Torac claims was property of Mr. Brettholz. The Defendant urges the Court to carve out from the

transfers $150,000 that Torac received from the Debtor because it was made to correct an error

by Mr. Brettholz, who mistakenly transferred $150,000 to the Debtor instead of Torac. While the

banking records reflect that Mr. Brettholz transferred $150,000 to the Debtor on the same date

that the Debtor transferred $150,000 to Torac, there is no testimony from Mr. Brettholz to

support this theory as to why these transfers took place. Without substantiating evidence, the

Court cannot attribute this transfer to Mr. Brettholz directly. Therefore, there is no basis to

deduct $150,000 from the amount the Trustee may seek to recover from the Debtor.

       The remainder of the transfers the Trustee seeks to recover are the transfers by

FFP and DFC-NJ to the Defendant for a combined total amount of $510,326.37. Included among

these transfers are $195,350.01 in transfers from the Debtor to Basic. According to the

Defendant, the transfers by Basic were in repayment of a note executed by Mr. Weitzmann in

favor of the Debtor, not with respect to an obligation by the Debtor to the Defendant. However,

the record reflects that the building owned by Torac was facing foreclosure emanating from a



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real estate tax lien. Mr. Weitzmann borrowed money from Basic to satisfy Torac’s debt. In fact,

the funds borrowed from Basic were deposited with an account held by Torac. Any transfer by

the Debtor in repayment of this obligation was for the ultimate benefit of Torac, thus satisfying

the requirement that the payment be for the benefit of the defendant-transferee. See Gowan v.

Amaranth LLC (In re Dreier LLP), 452 B.R. 451 (Bankr. S.D.N.Y. 2011) (quoting Sec. Inv’r

Protec. Corp. v. Stratton Oakmont, Inc., 234 B.R. 293, 314 (Bankr. S.D.N.Y. 1999) (“The key to

pegging the entity for whose benefit the initial transfer was made has two sides: 1) the entity

must be the intended beneficiary and 2) the intended benefit must originate from the initial

transfer”)). Further, no promissory note evidencing a debt owed by the Debtor to Mr. Weitzmann

was produced. Therefore, the transfers by the Debtor to Basic are included in the transfers to be

avoided.

       The Plaintiff seeks to recover the entire amount which the Defendant received as an

initial or subsequent transferee of FFP and DFC-NJ. Pl.’s Post-Trial Br. at 37. As discussed,

these transfers are avoidable as intentionally and constructively fraudulent transfers emanating

from the Ponzi scheme pursuant to sections 273, 274, 275 and 276 of the NY DCL. The transfers

from DFC-NJ are also avoidable in the amount of $66,354.15 under the intentional and

constructive fraudulent conveyance statutes set forth in § 548 of the Code.

       The Defendant asserts that because the funds transferred by FFP and DFC-NJ were from

a separate legal entity, the Court must first find that the transfers from the Debtor to either FFP

or DFC-NJ are avoidable, then determine whether the funds can be recovered from the

Defendant as a subsequent transferee under Bankruptcy Code section 550(a)(2). For the reasons

set forth, the Court finds that the Defendant was an initial transferee of the funds despite

receiving the transfers from non-Debtor entities FFP and DFC-NJ. To Mr. Diamond and Mr.



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Weitzmann, the Debtor and its affiliates operated as one unit for the purposes of the Ponzi

scheme. The Debtor used FFP and DFC-NJ as intermediaries, but they were separate in name

only. FFP and DFC-NJ were consolidated affiliates on the Debtor’s balance sheet. FFP had no

payroll, employee or operations and basically was a dormant business. DFC-NJ also had no

independent employees or office space. Mr. Weitzmann even admitted that he did not

differentiate between the three companies, he simply stated that he lent money to “Rob

Diamond.” Tr. #3 at 17. The Debtor and its affiliates, including FFP and DFC-NJ, operated in

unison as an “enterprise.” Therefore, based on the records before us, this Court makes no

distinctions between the Debtor, FFP and DFC-NJ. After treating these entities as one unit, Torac

cannot now assert that the transfers from the Debtor to FFP and DFC-NJ must be avoided before

determining whether recovery can be had against Torac. The Debtor, FFP and DFC-NJ as one

enterprise, made transfers to Torac as the initial transferee.

       Other courts have relied on similar theories. See Stoebner v. Ritchie Cap. Mgmt., LLC (In

re Polaroid Corp.), 472 B.R. 22, 41 (Bankr. D. Minn. 2012) (finding Ponzi scheme presumption

applied to related non-debtor entities where the person in common control “effects the transfer

by the entity extrinsic to the Ponzi scheme . . . in order to further the scheme as it has been

maintained through the central entity”); In re RMA Strategic Opportunity Fund, LLC, Adv. P.

No. 19-1113 (FJB), 2021 WL 1439786, at *5 (Bankr. D. Mass. Apr. 15, 2021) (denying a motion

to dismiss for trustee’s lack of standing and finding that a plausible claim for relief was alleged

where the trustee pled that a transfer was made “by the [d]ebtor and that the transferred funds

constituted property of the [d]ebtor, notwithstanding that they were held in the name of another

entity”); Tango Delta Fin., Inc., v. Lowe (In re: Dickinson of San Antonio, Inc.), Adv. P No. 18-

05259 (RBK), 2021 WL 3500781, at *17 (W.D. Tex. Aug. 9, 2021) (finding that third-party



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transfers can be sufficient to allow a trustee to recover “an interest of the debtor in property”

because where the debtor controls the disposition of funds from that third party, the money is

treated as having belonged to the debtor).

       Even if the Court were to accept the argument that the initial transfer from the Debtor to

FFP or DFC-NJ had to be avoided first, and the Defendant is a subsequent transferee, the

Plaintiff’s claims would still succeed. For the reasons stated infra, due to the application of the

Ponzi presumption, each transfer from the Debtor to either FFP or DFC-NJ is avoidable as a

constructively fraudulent transfer or an intentionally fraudulent transfer under each applicable

cause of action. In addition, the funds from FFP and DFC-NJ to the Defendant can sufficiently

be traced to the Debtor. While the Plaintiff has the burden of tracing the funds received by the

Defendant to the Debtor to establish that the funds are property of the estate, it “is not so onerous

as to require dollar-for-dollar accounting of the exact funds at issue.” In re Bernard L. Madoff

Inv. Sec. LLC, 454 B.R. 317, 340 (Bankr. S.D.N.Y. 2011) (citing In re Allou Distrib., Inc., 379

B.R. at 30).

   1. Tracing of funds for FFP and DFC-NJ

           a. FFP

       The Defendant executed a promissory note in favor of the Debtor on July 16, 2014 in the

amount of $100,000. Pl.’s Ex. 68. However, these funds were wired into FFP instead of the

Debtor. Id. In return, FFP transferred a total of $190,000 to the Defendant. Pl.’s Ex. 12.

Therefore, the net amount received by the Defendant was $90,000. Between January to

November of 2015, when the Defendant received these funds, FFP received sixteen total deposits

totaling $489,954. Mr. Shurek was able to trace $325,000, constituting 66% of the funds

transferred to FFP as originating with the Debtor. Pl.’s Ex. 1. Of the sixteen payments to the



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Defendant, $90,000 was traced to the Debtor. Another seven of the transactions to the Defendant

cleared the bank even though the account balance was negative. Id. The Plaintiff has met his

burden of showing that the funds FFP paid to the Defendant originated with the Debtor and are

property of the estate.

           b. DFC-NJ

       The Defendant executed two promissory notes in favor of DFC-NJ which were deposited

in DFC-NJ on April 16, 2014 and June 18, 2014 in the amount of $100,000 and $120,000,

respectively. Pl.’s Exs. 10, 69. In return, DFC-NJ transferred a total of $320,326.37 to the

Defendant. Pl.’s Ex. 10. Therefore, the net amount received by the Defendant was $100,326.37.

Mr. Shurek was able to determine that $1,055,648, or 26% of the money that was transferred to

DFC NJ between July 24, 2014 and July 23, 2018 came from the Debtor. Of the fifty-three

payments to the Defendant, he determined that five payments totaling $38,270 could be directly

traced to the Debtor around the date that funds were disbursed to the Defendant. The Plaintiff has

met his burden of showing that the funds DFC-NJ paid to the Defendant also originated with the

Debtor and are property of the estate.

   2. Good faith defense of subsequent transferee

The Defendant also asserts that because it is a subsequent transferee, it is not liable under section

550(b)(1) of the Code as it took the funds in “good faith.” Def.’s Post-Trial Br. at 25.

       Section 550(b) of the Code states:

       (b) The trustee may not recover under section (a)(2) of this section from—

               (1) a transferee that takes for value, including satisfaction or securing of a
               present or antecedent debt, in good faith, and without knowledge of the
               voidability of the transfer avoided[.]

11 U.S.C. § 550(b)(1).



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       The Defendant, which has the burden of proof for this defense, cannot establish that it

took the funds from FFP and DFC-NJ in good faith.

       a.   “Good Faith”

       As discussed in accordance with the Defendant’s section 548(c) defense, the “inquiry

notice” standard for “good faith” is substantially similar to section 550(b) of the Code. See In re

Bernard L. Madoff Inv. Sec. LLC, 12 F.4th 171 at 192 (“a lack of good faith under Sections 548

and 550 of the Bankruptcy Code encompasses an inquiry notice standard.”)

       The Defendant alleges that it received the transfers in good faith because it had the same

information as Mr. Moskowitz and Mr. Wattenberg. Def.’s Post-Trial Br. at 26. In essence, the

Defendant argues that no inquiry was required because the ten percent interest rates on the notes

were not exorbitant, the Debtor’s business was plausible, and that no excessive profits were

promised. Id. The Defendant fails to consider other facts that would have put a reasonable person

on inquiry notice.

       For similar reasons that the good faith defense under section 548(c) fails, the defense

under section 550(b) also fails. Not only did the Defendant have reason to inquire into the

Debtor’s operations and ability to pay at the time the Defendant made its loans, but it also had

failed to inquire into several red flags that presented themselves in the subsequent years. The

Defendant had knowledge that the Debtor was unable to make the demanded payments that were

owed to the Defendant pursuant to the promissory notes, was paid back from affiliate entities

other than the Debtor and was unable to explain FFP’s capitalization despite being a 50% owner

at one point in time. The Defendant would have discovered the fraudulent purpose behind the

transaction upon making an inquiry, but the Defendant affirmatively decided to refrain from

conducting any inquiry. The Defendant provided $75,000 to Mr. Diamond shortly before the



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involuntary petition was filed, did not ask any questions about the Debtor’s ability to pay, and

had not performed even a modicum of due diligence into the financial affairs of the Debtor. The

Defendant was on inquiry notice and failed to conduct any investigation into the Debtor, and so

the good faith defense fails.

         b. “Without knowledge of the voidability of the transfer avoided”

         “[A] defense under 11 U.S.C. § 550(b) will arise only if the transferee takes without

knowledge of the voidability of the transfer avoided.” In re Goldberg, 623 B.R. at 240 (quoting

CNB Int’l v. Kelleher (In re CNB Int'l, Inc.), 393 B.R. 306, 329 (Bankr. W.D.N.Y. 2008), aff'd

on other grounds, 440 B.R. 31 (W.D.N.Y. 2010)). A section 550(b) defense fails when “an

immediate or mediate transferee has knowledge of a potential basis for the avoidance.” In re

CNB Int'l, Inc., 393 B.R. at 330 (quoting Wallach v. Altmeyer (In re Altmeyer), 268 B.R. 349,

357 (Bankr. W.D.N.Y. 2001)). “There must only be some knowledge of the possibility of

avoidance . . . [to] put [the transferee] on notice the transfer may be avoided or place him in a

position where further inquiry is necessary and would likely lead to the conclusion the transfer

might be avoided.” Mendelsohn v. Roslyn, LLC (In re Leff), 631 B.R. 106, 127 (Bankr. E.D.N.Y.

2021).

         The facts indicate that the Defendant had knowledge about the possibility of avoidance of

the transfer or was in a position where further inquiry was necessary. The Defendant knew that

the Debtor received less than fair consideration for the transfers because the Debtor and its

entities paid back the Defendant almost double the amount that it loaned. The facts show that the

Defendant was paid back $1,322,713.83 on loans totaling $740,000.00. The Defendant was also

in a position to inquire about the Debtor’s insolvency. When the Defendant demanded repayment

on one of its loans in 2015 and the Debtor advised it could not repay, that placed the Defendant



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in a position to inquire as to the Debtor’s solvency. Further, these same facts placed the

Defendant in a position to inquire as to the Debtor’s ability to pay its debts as they came due. For

these reasons, Defendant did not take the transfers “without knowledge of the voidability of the

transfer avoided” as is required under section 550(b).

          Therefore, the Defendant has not met its burden of proof to establish a defense under §

550(b).

   IX.        Award of Prejudgment Interest

          The Plaintiff makes a request in its complaint and its post-trial brief for prejudgment

interest. Neither the NY DCL nor the Bankruptcy Code expressly provides for an award of

prejudgment interest under a fraudulent conveyance claim, but discretionary awards of

prejudgment interest are permissible. 45 John Lofts, LLC v. Meridian Cap. Grp., LLC (In re 45

John Lofts, LLC), 650 B.R. 602, 621 (Bankr. S.D.N.Y. 2023). While an award of prejudgment

interest must not create a windfall for the plaintiff, prejudgment interest is appropriate “absent a

sound reason to deny it.” Id. (citing McHale v. Boulder Cap. LLC (In re 1031 Tax Grp., LLC).

439 B.R. 84 87 (Bankr. S.D.N.Y. 2010)). Having determined that Torac was not an innocent

investor and the Debtor should be compensated for the value of the property transferred, the

Court awards interest at the prime rate in effect at the time of the transactions, which interest

shall begin to accrue as of the date this adversary proceeding was commenced. Id. at 621-22

(other citations omitted).

                                                CONCLUSION

          The Court finds in favor of the Plaintiff as to each cause of action and shall settle a

proposed judgment consistent with this Decision After Trial on notice to counsel to the

Defendant as follows:



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  1. Judgment in favor of the Plaintiff pursuant to 1st, 2nd and 3rd causes of action under NY
     DCL §§ 273, 274, and 275 in the amount of $582,713.83;

  2. Judgment in favor of the Plaintiff pursuant to 4th cause of action under NY DCL § 276 in
     the amount of $1,322,713.83;

  3. Judgment in favor of the Plaintiff pursuant to 5th cause of action under NY DCL § 276-a
     in an amount to be determined after submission of an application for fees by the Plaintiff;

  4. Judgment in favor of the Plaintiff pursuant to 6th cause of action under 11 U.S.C. § 550 in
     the amount of $812,387.46 paid to the Defendant from Debtor, $320,326.37 paid to the
     Defendant from DFC-NJ, and $190,000.00 paid to the Defendant from FFP;

  5. Judgment in favor of the Plaintiff pursuant to 7th cause of action under 11 U.S.C. § 551,
     avoiding each transfer for the benefit of the Debtor’s estate;

  6. Judgment in favor of the Plaintiff pursuant to 8th cause of action under 11 U.S.C. §
     548(a)(1)(B) in the amount of $66,354.15; and

  7. Judgment in favor of the Plaintiff pursuant to 9th cause of action under 11 U.S.C. §
     548(a)(1)(A) in the amount of $66,354.15.

  8. The judgments shall include interest at the prime rate as of the date of each transfer,
     accruing from the date of the commencement of this adversary proceeding. The dollar
     amount shall be calculated up to the date of this Decision After Trial.




Dated: Central Islip, New York                                ____________________________
       February 22, 2024                                            Robert E. Grossman
                                                               United States Bankruptcy Judge

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